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United States Courts
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UNITED STATES DISTRICT COURT ~ JAN 16 20%
SOUTHERN DISTRICT OF TEXAS
. HOUSTON DIVISION — David d. Bradley, Clerk at Cour,
UNITED STATES OF AMERICA . 8
y. . §  -CASE NO. 4:19-er-719-S1
§ :
CHARLES McCREARY, JR. § .
CHRISTOPHER McINTOSH §  UNDERSEAL
JASON BROWN §.
MICHAEL GOODWIN §
MATTHEW DOWELL 8
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' JOUNDOE1 : :
§

SUPERSEDING.CRIMINAL INDICTMENT

THE GRAND JURY CHARGES THAT:
INTRODUCTION
At all times material to this Indictment:
1... The term “minor” is defined, pursuant to Title 18, United States Code, Section 2256(1), as
| “any person under the age of eighteen yeats.” | . .
2. The term “child pomography,” for purposes of this Indictment, is defined, pursuant to Title 18,
United States Code, Section 2256(8)(A), as |

“any visual depiction, including any photograph, film, video, picture, or ‘comiputer’ | or
computer-génerated image or picture, whether made or produced by electronic, mechanical, or
other means, of sexually explicit conduct, where -

’ (A)the production of such visual depiction involves the use of 4 minor engaged in sexually
explicit conduct. “

 
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3. The term “sexually explicit conduct” i is defined, pursuant to Title 18, United States Code,
Section 2256(2)(A), as any:

“actual or simulated - -
(i). sexual intercourse, including genital [to] genital, oral [to] genital, anal [to]
genital, or oral [to] anal, whether between persons of the same or opposite sex; [or]
(ii) —_ bestiality; [or]
(iii) | masturbation; [or] .
(iv) sadistic or masochistic abuse; or
(v) [the] lascivious exhibition of the genitals, or pubic area of any person.”

4, The term “computer” is defined, pursuant to Title 18, United States Code, Sections 22.56(6)
and 1030(e)(1), as any:

“electronic, magnetic, optical,. electrochemical, or other high speed data processing device
performing logical, arithmetic, or storage functions, and includes any data storage facility or
‘ communications facility directly related to or operating in conjunction with such device, but
. such term does not include an automated typewriter or typesetter, a portable hand held
calculator or other similar device.”

5. The term “visual depiction” is defined , pursuant to Title 18, United States Code, Section
2256(9), as including, but is not limited to, any:

. “undeveloped film and videotape, and data stored on computer disk or by electronic means .
which i is capable of conversion into a visual image.”

_ COUNT ONE
(Conspiracy to Receive and Distribute Child Pornography)

From a date unknown to the Grand Jury but beginning no later than o onor about April 24, 2017,
through at least on or about August 28, 2019, within the Southern District of Texas and elsewhere,

. CHARLES McCREARY, JR.

CHRISTOPHER McINTOSH
JASON BROWN __.
MICHAEL GOODWIN

MATTHEW DOWELL

 
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defendants herein, and others known and unknown to the Grand J wy, did knowingly conspire with
each other, and with others known and unknown to the Grand Jury; to receive and distribute (1) any
~ child pornography using any means and facility of interstate and foreign commerce and that has been
mailed, and has been shipped and-transported in and affecting interstate and foreign commerce by any
theans, including by computer; and (2) any material that contains child pornography using any means
and facility of interstate and foreign commerce and that has been mailed, and has been shipped and -
transported in and affecting interstate and foreign commerce by any means, including by computer.
. In violation of Title 18, United States Code, Section 2252A(a)(2) and Section
2252A(b)).. :
COUNT TWO ©
(Conspiracy to Advertise Child Pornography)
From a date unknown to the Grand Jury but beginning no later than‘on or about April 24, 2017,

through at least on or about August 28, 2019, within the Southern District of Texas and elsewhere,

CHARLES McCREARY, JR.
CHRISTOPHER McINTOSH
JASON BROWN
MICHAEL GOODWIN
MATTHEW DOWELL’

 

defendants herein, and others known and unknown to the Grand Jury, did knowingly conspire with

 
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each other, and with others known and unknown to the Grand Jury, to ‘make, print and publish, and
cause to be made, printed and published, any notice and advertisement seeking and offering to receive,
exchange, buy, produce, display, distribute and reproduce, any visual depiction, the production of
which visual depiction involved the use of a minor engaging in sexually explicit conduct and such
visual depiction was of such conduct, knowing and having reason to know that such notice and
advertisement would be transported using any means and facility of interstate and foreign commerce —
and in and affecting interstate and foreign commerce by any means, including by computer, and such
‘ notice and advertisement was transported using any means’ and facility of interstate and foreign
commerce and in and affecting interstate and foreign commerce by any means, including by computer.

In violation of Title 18, United States Code, Section 2251(d) and (e).

COUNT THREE
(Penalties for Registered Sex Offenders)

From a date unknown to.the Grand h ury but beginning no later than on or about Api 24,2017,
‘through on or about August 28, 2019, within the Southern District of Texas,
| CHARLES McCREARY, JR,
defendant herein, being an individual who is required by Federal or other Jaw to register as a SEX
offender, did commit a felony offense involving a minor under Title 18, United States Code, Section
2251, as charged in Count Two of this Indictment. | |

In violation of Title 18 United States Code Section 2260A.

 
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NOTICE OF FORFEITURE
18 U.S.C. § 2253(a)

" Pursuant to Title 18, United States Code, Section 2253(a)(2) and (a)(3), the United States gives
. the defendants notice that in the event. of conviction for the offense charged j in Courts One and Two
of the Indictment, the United States will seek to forfeit all property, real and personal, constituting or
traceable to gross profits or other proceeds obtained from the offense charged in Counts One and Two;
and all property, real and personal, used or intended to be used to commit or to promote ‘the
- commission of the offense charged in Counts One and Two, or any property traceable to such property,
including, but not limited to, the following: |
A black Samsung Galaxy 4 tablet s/n R52M3015H3D;
A black NuVision tablet model no. NESI1C432SSA s/n 116NES0689;
A black Acer Aspire E5-575 laptop s/n NXGG5AA006648035BF7600;
| A black custom desktop with a Lian Li case;
A Motorola XT1254 droid cell phone s/n ZXIF428KX4;
A Fujitsu 80GB Hard Drive S/N: NW83T6225F95:
A black Kesu External Hard Drive 500GB;
An Apple iPhone 5s (IMEI: 013885008606971);
A Dell Inspiron 3650 laptop SIN : 608TH82;
A black self-built desktop computer with a Lian Li Case;
An Asus EEE laptop S/N: A60AA5371725;
A SanDisk 128GB thumb drive; |

A Westem Digital external hard drive S/N: WCAV5C367676;

 
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An Acer Chromebook S/N: NXGHJAA009828108937600;
An HP Enivy 750-11 1-S/N: MXX5370738;

A Black Acer Laptop S/N: SYXOPAWP;

A Seagate Hard Drive S/N: 5JVJIxWS;

A Western Digital'S/N: WCAT11318379;
A Lenovo Laptop S/N: QB07910369;
A Motorola Droid Model XT 1254 S/N; ZXIF428KX4; and

A Toshiba External Hard Drive S/N'YS2FTMOPTTT1.

A True Bill:

4 a

ORIGINAL SIGNATURE ON FILE
Grand Jury Foreperson

RYAN K. PATRICK.
United States Attorney

Hnberly 20 , _
Assistant United States Attorney

713-567-9465

 
